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                        EXHIBIT 3
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                CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                        Plaintiff’s Disclosure of Asserted Claims and Preliminary Infringement Contentions1

                               Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
     Claim Limitation
    1. A semiconductor         Accused component: Bulbrite 770591 LED4G9/27K/120/F/D T6 4.5W LED G9 2700K 120V Dimmable Frost
       light-emitting device   Basis of Infringement Contention: The Bulbrite 770591 T6 4.5W LED G9 2700K contains a semiconductor
       comprising:             light-emitting device
                               Photograph of Bulbrite 770591 T6 4.5W LED G9 2700K




1
 Plaintiff provides these infringement contentions before obtaining discovery from Defendant. Plaintiff expects that Defendant and/or
third parties will produce information regarding Defendant’s instrumentalities beyond that which is publicly available. Accordingly,
Plaintiff reserves the right to modify these infringement contentions based upon Defendant’s document production and/or other
information made available to Plaintiff through discovery.

Plaintiff’s infringement contentions are intended to explain Plaintiff’s theories of infringement and do not constitute evidence.
Plaintiff’s infringement contentions are not intended to set forth a prima facie case of infringement or evidence in support thereof.
Certain portions of the chart below may apply to more than one Accused Instrumentality. Certain portions of the chart below may
reference other charts, and may be referenced by other charts.

The Accused Instrumentalities often practice the claim elements in numerous alternative ways in accordance with the present chart.
The Accused Instrumentalities should be assumed to act alone or in combination as referenced herein and interpreted in the singular or
plural accordingly. Defendant further provides the Accused Instrumentalities as well as the instructions to customers/users causing
them to use the Accused Instrumentalities in an infringing manner, including, without limitation, in their default and expected uses.

Each element of this claim, except where noted otherwise, and each element of the asserted claims dependent thereon, is present
literally or under the doctrine of equivalents in the Accused Instrumentalities. To the extent each element of this claim, and the
asserted claims dependent thereon are not present literally in the Accused Instrumentalities, each element is present under the doctrine
of equivalents because there is no substantial difference between the elements of the asserted claims and the corresponding
functionality in the Accused Instrumentality, i.e., the corresponding functionality in the accused product performs substantially the
same function, in substantially the same way to achieve substantially the same results as the claimed elements.


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         CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                      Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
Claim Limitation
                      Box




                      Box label




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         CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                      Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
Claim Limitation
                      Lamp




                      Lamp marking




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          Case 2:22-cv-03787-BRM-JSA      Document 1-4    Filed 06/14/22   Page 5 of 25 PageID: 41

         CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                      Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
Claim Limitation
                      Cap removed




                      LED chip




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          Case 2:22-cv-03787-BRM-JSA       Document 1-4     Filed 06/14/22    Page 6 of 25 PageID: 42

         CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                      Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
Claim Limitation
                      Scanning Electron Microscope (SEM) image of LED cross-section:




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               Case 2:22-cv-03787-BRM-JSA         Document 1-4      Filed 06/14/22    Page 7 of 25 PageID: 43

               CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                            Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
     Claim Limitation
a substrate;                Accused component: Substrate of the LED in the lamp.
                            Basis of Infringement Contention: The LED contains a substrate.
                            SEM Cross-Section of the LED:




                                                                                              Substrate




                                                        PAGE 6 OF 24
          Case 2:22-cv-03787-BRM-JSA      Document 1-4    Filed 06/14/22   Page 8 of 25 PageID: 44

         CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                      Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
Claim Limitation
                      SEM Cross-Section of the LED Identifying the Location of the EDX Measurement:




                              LOCATION 2




                                                PAGE 7 OF 24
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         CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                      Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
Claim Limitation
                      EDX Analysis of Substrate:




                                     Substrate is Sapphire (Al2O3)




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                                                                46
                 CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                                 Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
     Claim Limitation
a textured district defined on   Accused component: Substrate of the LED in the lamp.
the surface of said substrate    Basis of Infringement Contention: The substrate of the LED contains a textured district defined on the surface
                                 of said substrate.
                                 SEM Cross-Section of the LED:




                                                                                                      Textured
                                                                                                       District




                                                              PAGE 9 OF 24
           Case 2:22-cv-03787-BRM-JSA      Document 1-4    Filed 06/14/22   Page 11 of 25 PageID:
                                                   47
         CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                      Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
Claim Limitation

                      Figure 2B from U.S. Patent No. 6,936,851:




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                                                                48
                 CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                                Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
     Claim Limitation
comprising a plurality of       Accused component: The textured district defined on the surface of the substrate of the LED in the lamp.
etched trenches having a        Basis of Infringement Contention: The textured district comprises a plurality of etched trenches having a
sloped etching profile with a   sloped etching profile with a smooth rotation of micro-facets without a prescribed angle of inclination.
smooth rotation of micro-
facets without a prescribed     The plurality of etched trenches has sloped etching profiles with a smooth rotation of micro-facets.
angle of inclination;
                                                                                       Etched trenches (the areas in the surface of the
                                                                                       substrate from which some amount of material
                                                                                       has been etched away in order to create the
                                                                                       pattern on the surface of the substrate)

                                                                                       Sloped etching profile (the etched sloped sides
                                                                                       of the trench). The sloped etching profile
                                                                                       contains a smooth rotation of microfacets.

                                                                                        Without a prescribed angle of inclination
                                                                                        (the sloped etching profile is without a
                                                                                        constant angle of inclination)




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                    Case 2:22-cv-03787-BRM-JSA          Document 1-4       Filed 06/14/22     Page 13 of 25 PageID:
                                                                49
                 CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                                 Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
     Claim Limitation
a first layer disposed on said   Accused component: The LED in the lamp.
textured district;               Basis of Infringement Contention: The LED comprises a first layer disposed on said textured district defined
                                 on the surface of the substrate of the LED in the lamp.
                                 The first layer is disposed on the textured district.




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           Case 2:22-cv-03787-BRM-JSA      Document 1-4    Filed 06/14/22   Page 14 of 25 PageID:
                                                   50
         CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                      Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
Claim Limitation
                      SEM Cross-Section of the LED Identifying the Location of the EDX Measurement:



                            LOCATION 1




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           Case 2:22-cv-03787-BRM-JSA      Document 1-4    Filed 06/14/22   Page 15 of 25 PageID:
                                                   51
         CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                      Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
Claim Limitation
                      EDX Analysis of First Layer:




                                          First Layer is Gallium Nitride (GaN)




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                   Case 2:22-cv-03787-BRM-JSA         Document 1-4       Filed 06/14/22     Page 16 of 25 PageID:
                                                              52
                 CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                              Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
     Claim Limitation
comprising a plurality of     Accused component: The first layer disposed on said textured district defined on the surface of the substrate of
inclined lower portions,      the LED in the lamp.
                              Basis of Infringement Contention: The first layer comprises a plurality of inclined lower portions so as to
                              guide the extended lattice defects away from propagating into the active layer.
                              The first layer has a plurality of inclined lower portions.




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                   Case 2:22-cv-03787-BRM-JSA           Document 1-4       Filed 06/14/22       Page 17 of 25 PageID:
                                                                53
                CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                                 Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
     Claim Limitation
said first layer and said        Accused component: The LED in the lamp.
substrate form a lattice-        Basis of Infringement Contention: The first layer and said substrate of the LED form a lattice-mismatched
mismatched misfit system,        misfit system.

                                 The Gallium Nitride first layer and Sapphire (Al2O3) substrate form a lattice-mismatched misfit
                                 system.

                                 Epitaxial growth of gallium nitride thin films on A-plane sapphire by molecular beam epitaxy,
                                 Center for Photonics Research, College of Engineering, Boston University, Boston,
                                 Massachusetts, Journal of Applied Physics, Vol. 85, No. 7, 1 April 1999.




said substrate having at least   Accused component: The LED in the lamp.
one of a group consisting of     Basis of Infringement Contention: The substrate is sapphire.
group III-V, group IV, group
II-VI elements and alloys,       The substrate is sapphire. The chemical formula of sapphire is aluminum oxide, Al2O3.
ZnO, spinel and sapphire; and


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                  Case 2:22-cv-03787-BRM-JSA           Document 1-4        Filed 06/14/22     Page 18 of 25 PageID:
                                                               54
                CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                                Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
     Claim Limitation
a light-emitting structure      Accused component: The LED in the lamp.
containing an active layer      Basis of Infringement Contention: The light-emitting structure containing an active layer is disposed on said
disposed on said first layer,   first layer. The first layer comprises a plurality of inclined lower portions so as to guide extended lattice
whereby said plurality of       defects away from propagating into the active layer.
inclined lower portions are
configured to guide extended
lattice defects away from       The light-emitting structure containing an active layer is disposed on said first layer.
propagating into the active
layer.
                                Illumination With Solid State Lighting Technology, Daniel A. Steigerwald, et al., IEEE Journal
                                on Selected Topics in Quantum Electronics, Vol. 8, No. 2, March/April 2002.




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           Case 2:22-cv-03787-BRM-JSA      Document 1-4    Filed 06/14/22   Page 19 of 25 PageID:
                                                   55
         CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                      Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
Claim Limitation




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                   Case 2:22-cv-03787-BRM-JSA             Document 1-4        Filed 06/14/22      Page 20 of 25 PageID:
                                                                  56
                 CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                                  Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
     Claim Limitation

                                  The first layer has a plurality of inclined lower portions configured to guide
                                  extended lattice defects away from propagating into the active layer.




                                  Plaintiff contends that the inclined lower portions of the first layer disposed on the textured district used in
                                  Defendant’s LEDs are configured to guide extended lattice defects away from propagating into the active layer.

 2. The device of claim 1,        The upper planar portion has low defect density in two respects. First, the defect density in the upper planar
wherein said first layer has an   portion is lower than the defect density in the lower portion of the layer. Second, the defect density in the upper
upper planar portion with low     planar portion is lower than the defect density would have been in the absence of the textured district. The
defect density.                   curved side face reduces dislocation density. See, e.g., U.S. Patent No. 7,759,140 at 6:52-55.
15. A semiconductor light-        See claim 1 above.
    emitting device
    comprising:
a substrate;                      See claim 1 above.


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                    Case 2:22-cv-03787-BRM-JSA          Document 1-4       Filed 06/14/22      Page 21 of 25 PageID:
                                                                57
                 CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                                 Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
     Claim Limitation
a textured district defined on   See claim 1 above.
the surface of said substrate
comprising a plurality of        Accused component: The textured district defined on the surface of the substrate of the LED in the lamp.
etched trenches having a         Basis of Infringement Contention: The textured district comprises a plurality of etched trenches having a
sloped smooth etching profile    sloped smooth etching profile without sharp corners and without a prescribed angle of inclination.
without sharp corners and
                                                                                            Etched trenches (the areas in the
without a prescribed angle of
                                                                                            surface of the substrate from which
inclination;
                                                                                            some amount of material has been
                                                                                            etched away in order to create the
                                                                                            pattern on the surface of the substrate)

                                                                                            Sloped smooth etching profile (the
                                                                                            smooth etched sloped sides of the trench)

                                                                                            Without a prescribed angle of inclination
                                                                                            (the sloped etching profile is without a
                                                                                            constant angle of inclination)




a first layer disposed on said   See claim 1 above.
textured district
comprising a plurality of        See claim 1 above.
inclined lower portions,


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                   Case 2:22-cv-03787-BRM-JSA         Document 1-4   Filed 06/14/22   Page 22 of 25 PageID:
                                                              58
                CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                                 Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
     Claim Limitation
said first layer and said        See claim 1 above.
substrate form a lattice-
mismatched misfit system,
said substrate having at least   See claim 1 above.
one of a group consisting of
group III-V, group IV, group
II-VI elements and alloys,
ZnO, spinel and sapphire; and
a light-emitting structure       See claim 1 above.
containing an active layer
disposed on said first layer,
whereby said plurality of
inclined lower portions are
configured to guide extended
lattice defects away from
propagating into the active
layer.




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                  Case 2:22-cv-03787-BRM-JSA          Document 1-4       Filed 06/14/22     Page 23 of 25 PageID:
                                                              59
                CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                               Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
     Claim Limitation
16. The device of claim 15,    Accused component: The textured district defined on the surface of the substrate of the LED in the lamp.
   wherein the sides of said   Basis of Infringement Contention: The sides of said etched trenches are smooth.
   etched trenches are
   smooth.                                                                                 Etched trenches (the areas in the
                                                                                           surface of the substrate from which
                                                                                           some amount of material has been
                                                                                           etched away in order to create the
                                                                                           pattern on the surface of the substrate)
                                                                                           Sides of trenches are smooth.




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                  Case 2:22-cv-03787-BRM-JSA          Document 1-4       Filed 06/14/22     Page 24 of 25 PageID:
                                                              60
                CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                               Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
     Claim Limitation
17. The device of claim 15,    Accused component: The textured district defined on the surface of the substrate of the LED in the lamp.
   wherein the sides of said   Basis of Infringement Contention: The sides of said etched trenches are without sharp corners.
   etched trenches are
   without sharp corners.                                                                  Etched trenches (the areas in the surface of
                                                                                           the substrate from which some amount of
                                                                                           material has been etched away in order to
                                                                                           create the pattern on the surface of the
                                                                                           substrate)

                                                                                           The sides of said etched trenches
                                                                                           are without sharp corners.
                                                                                           .




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                  Case 2:22-cv-03787-BRM-JSA           Document 1-4       Filed 06/14/22     Page 25 of 25 PageID:
                                                               61
                CLAIM CHART FOR REEXAMINED U.S. PATENT NO. 6,936,851 – Bulbrite 770591 T6 4.5W LED G9 2700K


                                Accused Instrumentalities: Bulbrite 770591 T6 4.5W LED G9 2700K
     Claim Limitation
18. The device of claim 15,     Accused component: The textured district defined on the surface of the substrate of the LED in the lamp.
   wherein the sides of said    Basis of Infringement Contention: The sides of said etched trenches are without a prescribed angle of
   etched trenches are          inclination.
   without a prescribed angle                                                               Etched trenches (the areas in the surface of
   of inclination.                                                                          the substrate from which some amount of
                                                                                            material has been etched away in order to
                                                                                            create the pattern on the surface of the
                                                                                            substrate)
                                                                                           The sides of said etched trenches are
                                                                                           without a prescribed angle of inclination.




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